         Case 3:20-cv-00504-KAD Document 3-1 Filed 04/15/20 Page 1 of 2


                                                     United States Department of Justice

                                                     United States Attorney
                                                     District of Connecticut



                                                     C on ne ct i cut Fin anci al C ente      r                                          (20j) 821-s700
                                                     1   57 Church Street, 25th Floor                                            Fax (203) 77i-5376
                                                     New Haven, Connecticut 06510                                       v,   w yt.i us t i c e. g oy /u s a o - c   t
                                                                                                                                                                        ￨


                                                                UrSI Postal serャ ice'M
                                                                CERTiFIED MAILO RECEIPT




                                                     嗣 コＪ す
February 24,2020

                                                                        ￨IF■                 ￨￨￨￨■ ￨.￨,1三 二                         [二


                                                     Ｊ門 コ 田
                                                              3ertified Ma‖   Fee




                                                                                                                                             鳳守
                                                              Extra SeruicBS & Fees (ch*k box, add teo as appropiate)
The Nano Group, Inc.



                                                     ロロロ ロ
                                                               ElReturn Recelpt (hardcopy) $
Inframat Corporation                                           f]ReturnReceipt(elecl@nlc)           $-
                                                               E certifed Mall R6tricted Delivery   $
U.S. Nanocorp,Inc.                                             EAdult   Signature   Required        $   --
                                                     ロ ｍ 哺日
                                                               EAdultSlgnature Bestricted Dellvery $
Inframat Advanced Materials, LLC                                                                        --
151 Progress Drive
                                                                                                        -
Manchester, Connecticut 06048
                                                     哺門 ロ ト




                                                                                                        -
Re:     In Re: Nano Group, Inc., et al.                       5rreet‐in‐ 姉      商「ア
                                                                                       "薇
                                                                                                  商
                                                                           ‐
                                                              ヽ   、Sbb'21再′。
Dear Gentlemen:

         P1ease recall the enclosed Settlement Agreement, Security lnterest Agreement, and
 Stipulated Judgment that were entered into with this Office. See enclosed copies. The terms of
the Settlement Agreement included payment to the United States of a total of $436,050.00, plus
interest. Payments were required to be made in monthly installments during the period of
January2013 throughDecember20lT. Paymentwas securedbythe Securitylnterest
Agreement, which granted the United States a secwity interest in each company's Accounts
Receivables. Ow records show that a total of only $162,666.80 was paid, and that the last
payment was received on June 9, 2015. Thus, a default of the terrns ofpayment agreement has
occurred and this letter hereby provides notice of that defauit, and is also a demand for
immediate payment of the remaining balance.

        In the event that payment in fiIl is not made to the United States within fifteen (15) days
from the date of this letter, the United States demands that the Nano Group, Inc., In-framat
Corporation, U.S. Nanocorp, Inc. and Inframat Advance Materials, LLC each provide their
respective annual financial reports for the last three years, including the Statement of Financials
(Balance Sheets), Statement of Comprehensive Income (Profit & Loss Statements), Statement of
Changes in Equity, and Statement of Cash Flow. You will also find enclosed a Financial
Statement for each company to complete and return to the wrdersigned.
         Case 3:20-cv-00504-KAD Document 3-1 Filed 04/15/20 Page 2 of 2




       If the amount of the debt is disputed,  or you would like to resolve this matter, please call
me immediately to arange a conference. I may be reached directly at (203) 821-3780. If I do
not hear from you within fifteen days of the date of this letter, we will assume that you are not
interested in resolving this matter and will proceed with litigation.



                                                      Very truly yours,

                                                      John H.Durharn




                                                                          States   Attomey




CLS:
Enciosures
